Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page i of 42

area aly, ere ees

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

MICHAEL DARDASHTIAN, individually and
on behalf of COOPER SQUARE VENTURES,

 

LLC, NDAP, LLC and CHANNELREPLY, LLC Civ, { }
Plaintiffs,
-against-
DAVID GITMAN, JEREMY FALK, SUMMIT AFFIDAVIT OF
ROCK HOLDINGS, LLC, ACCEL COMMERCE, MICHAEL DARDASHTIAN
LLC, DALVA VENTURES, LLC, KONSTANTYN IN SUPPORT OF ORDER
BAGAEV, OLESKST GLUKHAREY and TO SHOW CAUSE SEEKING
CHANNEL REPLY, INC. RESTRAINTS
Defendants.
ana vse - — anne VOLUME 1 OF3

Michael Dardashtian, being duly sworn deposes and says:

1. [am the Plaintiff herein and as such I am fully familiar with the facts and
circumstances of this matter as set forth herein. I have reviewed and executed the
Verified Complaint which is true to my own personal knowledge.

2. I write this affidavit in support of my Order to Show Cause seeking immediate
restraints and a preliminary injunction against Defendants.

Defendant David Gitman (“Gitman”) and I are co-managers and equal members

uo

of Cooper Square Ventures, LLC (“CSV”) each holding a 50% profit percentage
in such entity.

4. CSV is a software technology company registered in New York which specializes
in e-commerce, software as a service (“SaaS”), software creation and technology
consulting services. It also creates, operates, acquires and owns websites and

dozens of domain names.

 
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 2 of 42

5. CSV was founded by me and Defendant Gitman in August, 2011 and maintains
its principal offices in Manhattan, New York and our corporate mailing address
for service of process is in Great Neck, New York.

6. To date, CSV has consummated in excess of $10 million dollars of closed
transactions. CSV owns and operates NDAP, LLC, and the e-commerce SaaS
solution “Channel Reply.” CSV is also an investor in Sigmento, a technology
startup company based in Israel and Plumburs, an online plumbing supply
ecommerce business. A diagram created by Defendant showing CSV’s online
properties and products is annexed hereto as Exhibit “1.”

7. CSV’s business operations rely completely on its proprietary software codes.
Therefore, CSV has instituted layers of security, including but not limited to the
following: all company passwords are stored in 1 Password, a secure, heavily
encrypted password storage system and all software codes are hosted on secure,
encrypted AWS servers. The codes are also stored on a private and secure,
encrypted GitHub repository for backups and testing. GitHub describes itself as
the largest host of source code in the world.

8. On August 13, 2011, Defendant Gitman and I each executed the CSV operating
agreement thereby consenting to the personal jurisdiction, venue and forum of the
Supreme Court of New York, County of New York and the United States District
Court for the Southern District of New York to resolve any and all disputes
arising out of or related to CSV’s operating agreement. CSV’s operating

agreement is annexed hereto as Exhibit “2.”

No
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 3 of 42

9.

10.

11.

12.

13.

14.

On August 9, 2011, I procured an Employer Identification Number (“EIN”) from
the Internal Revenue Service for business related to CSV. Redacted copy of the
receipt is annexed hereto as Exhibit “3.”

On and before August 24, 2011, I secured a business partnership with NDA
Holding, LLC for the benefit of CSV.

On August 24, 2011, Defendant Gitman and I, as co-managers of CSV, entered
into an operating agreement with NDA Holding, LLC, thereby creating NDAP,
LLC, a limited liability company (““NDAP”). NDAP was formed for the purpose
of creating an e-commerce software platform to sell and distribute auto parts
called Car Part Kings (“CPK”). NDAP’s operating agreement is annexed hereto
as Exhibit “4a” and filing of Articles of Organization is annexed hereto as
Exhibit “4b.”

On August 25, 2011, I applied for an EIN from the Internal Revenue Service for
NDAP, and subsequently opened a dual member signee business checking bank
account with Bank of America for Defendant Gitman and I to conduct business
for NDAP. Redacted copy of the EIN receipt is annexed hereto as Exhibit “5a”.
From August 24, 2011, up until December 31, 2014, CSV was a minority member
of NDAP, LLC with a profit percentage of 49% subject to NDA Holding, LLC’s
51% ownership interest.

On October 13, 2011, Defendant and I, as dual member signees opened a business
checking account at Bank of America under the name Cooper Square Ventures,

LLC. Redacted signature cards annexed hereto as Exhibit “5b.”
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 4 of 42

15.

16.

17.

Beginning in and around 2012, CSV spent years creating a proprietary software as
a service solution (SaaS) called “ChannelReply.” ChannelReply integrates eBay
and Amazon customer service messages and order information into a customer
service software tool for easy messaging. My full description of ChannelReply’s
services are annexed hereto as Exhibit “Sc.” An email with Defendant’s
description of ChannelReply is annexed hereto as Exhibit “5d.”

On September 3, 2014, CSV launched a beta version of ChannelReply, to test the
online product and entered into its first customer service agreement, redacted
copy annexed hereto as Exhibit “6.” A redacted copy of the first customer invoice
receipt is annexed hereto as Exhibit “7a.”On October 21, 2014, CSV made
Konstantyn Bagaev (hereinafter “Bagaev”) ChannelReply’s lead software
developer. Bagaev, a freelancer based in Russia, was originally contracted
through Upwork, a global freelance service to work on ChannelReply. On
November 14, 2014, Bagaev was added to our company payroll as an independent
contractor. The scope of his services included working on various projects
including but not limited to ChannelReply and its API connection and Car Part
Kings.. Emails annexed hereto as Exhibits “7b” and “7c” and an unexecuted
redacted version of Bagaev’ s IC agreement with his work order is attached as
Exhibit “7d.”

I believe Defendant Gitman possesses the executed version of Mr. Bagaev’s
agreement and I am unable to access it at the present time because Defendant
Gitman has removed my access to all company accounts by changing the

passcodes and removing my access to our password storage databank.
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 5 of 42

18.

19.

20.

21.

22.

On or about December 31, 2014, CSV purchased the remaining 51% ownership
interest in NDAP from NDA Holding, LLC by executing two debt instruments
totaling approximately $500,000 dollars. CSV thereby assumed 100% ownership
in NDAP. Exhibits of same are intentionally omitted at Exhibits “8” and “9.”
From August 24, 2011 until present, NDAP created, owned and operated an
original proprietary software. Such proprietary software facilitated the online
inventory and sale of auto parts through Car Part Kings.

From August 24, 2011 until around January, 2016, NDAP was doing business as
“Car Part Kings”, an online automotive parts reseller, and consummated in excess
of $10 million in closed transactions. Website screenshot annexed hereto as
Exhibit “10a” and DBA confirmation annexed as Exhibit “10b.”

From on or about September 2014 until present, CSV offered ChannelReply to
third party businesses as a subscription service, charging a monthly service fee.
Website screenshot annexed hereto as Exhibit “11a.” The ChannelReply
website’s Terms of Service and Invoices to customers clearly evidence that CSV
owns and operates the ChannelReply service. Terms of Service and Invoices are
annexed hereto as Exhibits “11b”, “11e and “7a”.

To date, ChannelReply has consummated in excess of $350,000 dollars in closed
transactions and has an ongoing revenue stream of approximately $30,000 per
month, and has more than two hundred businesses presently enrolled as
customers. Our customer base spans not just the United States of America, but the
entire Globe (world). Our national and international customer base completely

rely upon ChannelReply to help integrate and respond to customer service
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 6 of 42

23.

24.

25.

26.

27.

28.

communications from eBay and Amazon. Many of our customers transact
millions of dollars in sales every month on these online marketplaces. Among our
customers are several large worldwide retailers whose names I will identify to the
Court if the Court deems necessary. In the alternative, I would prefer not to
publicize the names of CSV’s clientele.

On July 10, 2015, NDAP entered into a confidential brokerage agreement with
mergers and acquisitions advisor The Peakstone Group, LLC (““Peakstone
Agreement”), to raise equity investments and help sell its proprietary software.
Exhibit referencing same is intentionally omitted at Exhibit “12.”

On or about February 5, 2016, I communicated with the CEO of a large auto parts
retailer to explore a sale of CPK’s proprietary software.

On or around May 11 2016, Defendant Gitman informed me he would be leaving
his full-time position as acting CTO (Chief Technology Officer) of CSV to accept
a full-time job as CTO of CueConnect.

On June 7, 2016, Defendant Gitman and I discussed creating a separate LLC for
ChannelReply, Defendant sarcastically said the company should be called "Really
Going out of Business” before agreeing that it should be called ChannelReply,
LLC. Text conversation and email annexed as Exhibit “13a” and “13b”.

On June 9, 2016, I registered ChannelReply, LLC (ChannelReply, LLC’) with the
Secretary of State in New York, registration annexed hereto as Exhibit “14”.
Beginning on June 17, 2016, I published notice of ChannelReply, LLC. Evidence

annexed hereto as Exhibit “15”.
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 7 of 42

29,

30.

31,

32.

On June 27, 2016, I scheduled a call with CSV’s company attorney Jeffrey
Rothman to inquire about stock options for ChannelReply, LLC annexed hereto as
Exhibit “16”.

On July 8, 2016, an auto parts retailer expressed interest in the purchase of
NDAP’s proprietary Cataloging and PIM systems software for CPK. On or about
August 11, 2016, discussions had progressed significantly for the sale of CPK’s
technology. As CSV approached the final deal-making phase, I reached out to a
trusted advisor named Jeremy Falk, (“Falk”) to act as a third-party middleman to
assist in negotiating written terms. I knew Falk because prior to January, 2016,
Falk had expressed an interest, on behalf of AGI, an alternative investment
management firm, in making an equity investment in CPK’s to facilitate the
growth of the business. At the time, Falk had also expressed an interest in
becoming the sole, exclusive fundraiser for our other product ChannelReply. °
Defendant Gitman and I refused to give Falk such exclusivity, but he then offered
to act as an outside advisor for a potential sale of CPK. There was no initial
written contract between Falk and CSV and Falk did not initially request
payment. Falk’s company is Summit Rock Holdings, LLC (“Summit Rock”).

On August 24, 2016 Defendant Gitman requested a letter from CSV on company
letterhead so he could request a work Visa for Bagaev. Text message annexed
hereto as Exhibit “17”. On or around September 6, 2016, I acquired an EIN for
ChannelReply, LLC, redacted copy annexed hereto as Exhibit “18”.

On Wednesday, Oct. 5, 2016, I sent Defendant an operating agreement for

ChannelReply, LLC which Defendant said he would sign. Defendant never
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 8 of 42

33.

34.

35.

36.

returned an executed version of the ChannelReply, LLC operating agreement to
me so I could not open a bank account for ChannelReply, LLC. The Channel
Reply operating agreement and transmittal to Defendant Gitman are annexed
hereto as Exhibits “19a“and “19b”.

Several months later in or around December, 2017, Defendant told me his job as
CTO at CueConnect had not worked out. I had indicated that in the six months
when he had been working elsewhere, I, alone, had succeeded in doubling
ChannelReply’s monthly revenue from approximately $12,000 to $24,000.
Spreadsheets evidencing the doubling of ChannelReply’s revenue are annexed
hereto as Exhibit “19c”.

I noticed Defendant Gitman began developing a renewed interest in

ChannelReply, LLC and ChannelReply, LLC but still did not actively work on or
involve himself in the product.

On or about December 28, 2016, Falk contacted me and began demanding
payment for tax write-off purposes. I stated that I would not be paying absent an
agreement. Email correspondence is annexed hereto as “Exhibit “20a”.

In September, 2017, we were utilizing the accounting firm of Liebman, Goldberg
& Hymowitz, LLP, (“the Liebman Firm’’) to handle all accounting issues related
to NDAP, CSV and ChannelReply. Defendant Gitman and I had agreed that the
Liebman Firm would take over all company books for daily bookkeeping
purposes. However, when Defendant Gitman returned from his six month absence
while at his job as CTO at CueConnect, he reviewed the bank account, and saw

that I had received compensation of $10,000, paid in two installments of $5,000
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 9 of 42

37.

for the six months when I was running ChannelReply myself and he was
employed by CueConnect. Around May 12, 2017 Defendant and I had spoken on
two occasions about reducing the expenses he was running through our company
when he left. Defendant insisted on continuing to have the company pay for his
BMW and other personal expenses when he went to work for Cue Connect and in
exchange he had agreed I could pay myself reasonable compensation for working
full-time running our company in his absence. I reminded Defendant of this but he
denied it and improperly accused me of taking money from the company and
“hiding things”. Defendant than demanded we hire a bookkeeper based in the
Philippines named Mary Faith Anden (“Anden”) who he had found on Upwork to
review and make adjustments to NDAP and CSV’s company books outside of the
Liebman Firm. While I was fully satisfied with the Liebman Firm, I consented to
the retention of Anden for the time being to appease Defendant Gitman so that he
would recognize that nothing untoward had happened in his absence and that I
was obviously entitled to compensation for operating the companies alone. Ms.
Anden did not provide or otherwise demonstrate that she had any knowledge of
U.S. accounting principles or tax laws. My correspondence with Defendant from
May and September is annexed hereto as Exhibits “20b,” “20c,” “20d,” and
“20e,” “20f,” “20g,” “20h,” and “20i .” Defendant Gitman’s expenses, including
BMW payment is annexed hereto as Exhibit “72(b).”

I was recently contacted by the founder of a company that CSV has invested in
and told that back in March, Defendant had met with said company without

notifying me. The company founder told me that Defendant had brought in
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 10 of 42

38.

39.

40.

Anden to “fix” their books and she created somewhat of an accounting nightmare
for them, which is still affecting them to this day.

FALK’S DEMAND FOR FEE FOR SALE OF NDAP
On February 15, 2017, around 10:40am, Falk texted me asking me to “send the
peak agreement,” referring to my old confidential Peakstone Agreement so he
could show it to the company who wanted to purchase CPK. Confused, I
responded saying, “peak agreement is long been voided at this point.” Falk
continued to pressure me, saying “All co want to know all arrangements that are
potential liabilities. Their lawyers will ask for it. We are trying to show that not
just 1 party in mix.” Redacted text messages annexed hereto as Exhibits “21”
and “22.”
On February 15, 2017 at 11:28am, I forwarded The Peakstone Agreement to Falk
with the understanding that he needed it to show in connection with the purchase
of CPK as part of a due diligence process. Document referencing same is
intentionally omitted at Exhibit “23”.
On February 17, 2017, Falk sent me back a doctored up version of The Peakstone
Agreement, entitled Services Agreement. In this proposed “agreement”, Falk
asked Defendant and me to pay him $160,000 upon the closing of a sale of our
company, NDAP, as well as .25% of the purchase price so he could have an
“equity component.” At this point in time, Falk had not sent me any offer related
to a deal. I found his lump sum payment request to be uncustomary and bizarre

considering we did not have any idea of the value of a potential deal. Falk had not

10
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 11 of 42

41.

42.

44.

45,

even procured the purchaser, I had. Email correspondence is intentionally omitted
Exhibit “24.” See redacted Falk’s Services Agreement as Exhibit “25”.

On February 17, 2017, I responded to Falk’s email, saying his fees would need to
be “reasonable depending on the sale price”. I also communicated that I would not
sign the document unless it was reviewed and approved by my company attorney.
Said email chain is annexed hereto as Exhibit “24”.

On or about February 20", 2017, Falk told me a deal was on the horizon but
refused to tell me the offer or nature of ongoing discussions with the prospective
purchaser. Falk said he would not give me any information unless I signed his

services agreement.

. On or about February 26, 2017 through March 7, 2017, Defendant and Falk

emailed me pressuring me to sign Falk’s agreement even though our company
attorney had not finished reviewing it. Email correspondence annexed hereto as
Exhibit “24”.

On March 3, 2017 I sent back our redlined version of his agreement, saying,
“...Have we heard anything back or received an offer from [company name
omitted] yet?” Falk responded, “Will review. No counter offer yet.” I responded,
“Counter? Was there an initial offer?” Falk replied, “Mistyped. No offer.”
Redacted email exchange annexed hereto as Exhibit “27”.

On March 5, 2017, Falk sent back more revisions, and said, “Give me a call to
discuss and let’s get this done soon so we can get to a transaction asap!” Redacted

email exchange annexed hereto as Exhibit “28”.

11
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 12 of 42

46.

47.

On March 7, 2017, Falk emailed me saying that his lawyer suggested that the time
frame of the agreement should be backdated. When I reviewed his updated
document, it stated that Falk had been providing his services since December
2015, “solely with respect to the buyer and solely concerning the transaction.”
However, Falk had only become involved in the CPK sale as of August 2016

when I introduced him to the prospective purchasing company. In his email dated
March 7, 2017, Falk threatened that if we did not agree to the change in time
frame for his services related to the transaction that we would need to go back and
duplicate his work in the midst of deal negotiations, saying “the alternative I see
is that I notify [company name omitted] of such and then either Mike or Dave
resends to [company name omitted], the same documents’that I have already
provided...Up to you which route you want to take. I need to then have the data
come again from CSV to [company name omitted].” Redacted email
correspondence annexed hereto as Exhibit “29a”.

On March 7, 2017 Defendant wrote back to Falk and me five minutes later,
stating, “Jeremy, thank you for all your hard work. We truly appreciate it. All
your suggested changes are reasonable. Mike, this situation has become
emotional and embarrassing at this point. Please execute this immediately. I’m
ready to counter sign.” I was incredibly uncomfortable signing a document that
stated that Falk had provided services to our company for close to a year and a
half when he had only been in the transaction for around six months. I was also
uncomfortable with the fact that Falk, was potentially withholding information

pertaining to an offer. I was worried that Falk would hurt a potential deal, if we
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 13 of 42

48.

49.

50.

did not agree to his demands. I wrote back to Defendant saying, “I’m trying to
protect us. I suggest you talk to Jeff, what it seems Jeremy is trying to do is attach
himself to NDAP and CSV so that we possibly owe him money if a deal is not
done or we try and do something with CR (Channel Reply). ’'m not comfortable
with that. Also, he is including LLC’s that don’t exist in this agreement, which
puts us at risk. He’s including potential deals in this agreement that don’t exist.
He’s refused to show me an offer letter and refused to have me on the phone with
[company name omitted] proving that there is even an offer at this point... have
you seen or heard anything from [company name omitted]? Why are we jumping
through hoops if no deal is on the table?” Email exchange annexed hereto as
Exhibit “29a”.

Around March 7, 2017, I advised our attorney to put a clause in Falk’s services
agreement stating that “In the event, the Transaction does not close, for any
reason or for no reason, NO compensation shall be due Consultant.” I added this
clause to protect the company’s reserve capital in the event a sale did not
materialize and to provide us with an out in the event the deal value was lower
than Falk’s proposed fee. Email exchange annexed hereto as Exhibit “29a”.
On March 7", 2017, I executed Falk’s services agreement under the pressure of
Defendant and to get information I believed Falk was withholding related to a
deal offer. Redacted executed agreement annexed hereto as Exhibit “29b”.

On or around March 10, 2017, Falk communicated an offer and sent a Letter of
Intent (LOI) from the prospective purchaser dated March 8, 2017 which was one

day after I had signed Falk’s services agreement. Redacted email correspondence
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 14 of 42

51.

52.

54.

regarding Falk’s indication of interest and letter of intent is annexed hereto as
Exhibits “30”. Buyer’s LOI is intentionally omitted and “31”.

In and around March 13, 2017, I negotiated a settlement on CSV’s debt
instruments with NDA Holding, LLC.

On March 15, 2017, Defendant emailed me after speaking with Falk, saying, “I
spoke to Jeremy. He’s okay taking 80k in light of the PA offer. Jeremy, please

confirm. I responded, “sounds good....” Falk then responded back to the same

email chain, about two minutes after my email, on March 15, 2017, confirming

his agreement to reduce his service fee to $80k. Falk, responded back to both

myself and Defendant saying, “Yes.” Email exchange annexed hereto as Exhibit

 

“32”.
GITMAN FORMS ACCEL, A COMPETITIVE BUSINESS WITH
FALK
. On March 20, 2017, unbeknownst to me at the time, Defendant Gitman registered

a limited liability company called Accel Commerce (“Accel”), specializing in e-
commerce. According to Upwork, a freelance hiring platform, Accel has been
operating since January 2017, when Defendant left Cue Connect. Accel
registration and Upwork account with Defendant listed as business manager are
annexed hereto as Exhibit “33a” and “33b”.

In and around April 2017, Defendant opened a bank account for Accel and hired
Anden to do Accel’s bookkeeping using CSV’s Upwork account. Upwork takes
screenshots of freelancers, based on their consent, while they are working on

company projects to track their work. The screen shots from CSV’s Upwork

14
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 15 of 42

55.

56.

57.

account evidence Anden doing work for Accel and Defendant’s Accel bank
account. Screenshots annexed hereto as Exhibit “34”.

In and around late April through June, 2017, I logged into our company’s Upwork
account multiple times to monitor the work of CSV”s freelancers. I continued to
see screenshots of Anden working on the books of Accel. I also saw
correspondence between Anden and Defendant Gitman discussing Defendant
Gitman’s potential business partnership with Falk. On one occasion, he told
Anden in an email “he will review your work. I’m trying to focus more on the
technology and Jeremy is focusing on the finance side.” (Annexed hereto as
Exhibit “35a”).

This took me by complete surprise because Falk was supposed to be our
independent consultant and was working on our potential CPK deal. I checked the
Secretary of State website and found that Accel Commerce had been formed back
in March 20, 2017. Upwork screenshots annexed hereto as Exhibits “35a,”,
“35b”, “35c”, “35d,” 35e%,”"35f”, redacted email from Mary Anden to Falk and
Gitman regarding the ‘Accel P&L annexed hereto as “35g,” and “35h.”

On May 8, 2017, CSV’s company attorney forwarded me a further revised draft
of an asset purchase agreement among NDAP, LLC, COOPER SQUARE
VENTURES, LLC and [purchasing company omitted]. Redacted covering email
annexed hereto as Exhibit “36.” Negotiations correspondence between
Dardashtian and Defendant intentionally omitted at Exhibits 37,38, 39, 41, 42

and 44,

15
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 16 of 42

58.

59.

60.

In or around the beginning of May, 2017, right when we were about to sign the
purchase agreement, Defendant began demanding that he receive more than his
50/50 profit share with me from any CPK sale, despite the 50/50 profit share in
our operating agreement. Falk began acting as the supposed objective middleman
while Defendant refused to meet with me or directly discuss profit sharing with
me by phone. All the while Falk never disclosed that he was simultaneously
potentially working on a side business with Defendant, engaging in the same type
of business as CSV: e-commerce software solutions.

On May 17", 2017 through May 22, 2017, Falk and Defendant Gitman began
making unreasonable demands, including that I give up 15% of my profit share to
an employee, pay Falk more than the $80k we had all agreed to in writing on
March 15, 2017, and pay the company back for the healthcare benefits that I had
taken for approximately one year. He also indicated that Anden had calculated
that I owed the company more than $120,000 and that I was due nothing from the
sale of our company and instead owed the company and therefore Defendant
Gitman money. Defendant Gitman provided me with zero proof of these alleged
debts due to the company nor any proof of why I wouldn’t be entitled to my 50%
profit percentage from the sale of NDAP, as per our operating agreement. I am
happy to provide the court with these email conversations as additional Exhibits,
should the court deem it necessary.

On May 22, 2017, I checked CSV’s TimeDoctor account. TimeDoctor takes
screenshots of the laptops of CSV’s remote employees and independent

contractors, with their consent, to document their work. I saw that Defendant

16
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 17 of 42

61.

62.

63.

64.

began discussing plans behind my back to meet with ChannelReply’s lead
developer Bagaev to meet with him and another developer for ChannelReply
named Oleksii Glukharev in Russia to discuss “future plans”. Text message chat
annexed hereto as Exhibit “40”.

In and around this time, to facilitate the deal, I offered several generous
concessions to Defendant, in writing, on multiple occasions, but none satisfied
him.

On May 25, 2017 I received an email from an attorney named Umar who said he
was representing Defendant but refused to provide written documentation that
Defendant was paying him independently.

On May 25, 2017 at 4:50pm, Defendant began demanding that our company
accountant Joel Liebman validate Anden’s faulty accounting, which the company
accountant later admitted was “wholly inadequate.” He copied our company
lawyer Jeff Rothman and company accountant Joel Liebman on an email, writing
“Hi Joel, I have had an accounting to create the true up in my previous email. Can
you please validate this accounting on behalf of company, CSV and NDAP.
Thank you.” Email annexed hereto as Exhibit “43”.

On Friday May 26, 2017, I wrote back to all, notifying Defendant Gitman that
after paying several accountants who he previously chosen and fired, followed by
Anden, who we are still paying, that I did not want to spend company money on
Liebman validating Anden’s confusing and faulty accounting since we planned to
pay his accounting firm to review our books anyway at the end of the tax year.

GITMAN’S MISAPPROPRIATION OF CSV BANK OF AMERICA
ACCOUNT

17
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 18 of 42

65.

66.

67.

68.

On Friday May 26, 2017 CSV’s Bank of America company bank account had a
balance of $73,982.53. Bank statement annexed as Exhibit “45a and 45b”.

On the morning of Saturday May 27, 2017, at the start of a long holiday weekend
to celebrate memorial day and knowing the bank would not be open again until
Tuesday, and with no notice whatsoever to me, Defendant went to a Bank of
America branch in Pennsylvania and decided to wire all company funds out of
CSV’s bank account and into a new account that he opened. See redacted
statement and letter from Bank of America annexed hereto as Exhibits “45a “and
“46.”

On my phone, around 10:30 am, I received a notification that all available cash
belonging to CSV”s company account had been withdrawn. My online account
information, on my mobile device, showed two wire transfers, one for $50,000
and one for $23,982.53 bringing the account balance down to zero. I immediately
called the bank and was told that Defendant Gitman had withdrawn all of the
money belonging to CSV. Bank email alert annexed hereto as Exhibit “47” and
Bank statement annexed as Exhibit “45a”.

On May 27, 2017, around 4:30pm I received an email from Defendant Gitman
stating that he took all of the money from our company bank account, will make
unilateral authorizations regarding the sale (despite the requirement under our
operating agreement that all major decisions be made 50/50) and essentially
threatening me to sign a purchase agreement early next week and forego my profit
share from a sale until his unilateral accountings are done and he determines who

is owed what. He said he would authorize Falk and his LLC Summit Rock

18
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 19 of 42

69.

Holdings to continue to act as the broker of the deal, even though I expressed
concern over Falk’s conflict of interest in working with Defendant in Accel He
wrote in part, “Your resistance for an accounting has given me cause to transfer
the company's cash balances to a call deposit account....I will also continue to
authorize Summit Rock Holdings in working with [company name omitted] to
execute on the terms of purchase. I agree Umar should work directly with your
lawyer. Please reply with your attorney's information. I will remind you once
again that you will receive the final asset purchase agreement early next week. It
would be rational and prudent for you to execute the agreement before the
accounting is complete.” Redacted email annexed as Exhibit “48”.

On Saturday May 27, 2017 I spoke with our company attorney and wrote the
following to Defendant, in part “All of this is very concerning to me. As you
know, Cooper Square Ventures owns and operates Channel Reply... Accordingly,
I contacted our business attorney Jeff Rothman. While he stated that he
represents us both and cannot take sides, he suggested a reasonable resolution that
he believes would be fair to both of us. I agree with his suggestion, find it to be
reasonable and am prepared to follow it. Jeff stated all funds should be returned to
our business account immediately and in exchange we should both agree to be co-
signees on the account, which would require a dual signature before any funds are
withdrawn by either of us, thereby protecting the capital of our business.
Passwords must also be shared by both of us, no one person may lock the other
person out by virtue of our equal partnership. I am relying on you, as my fiduciary

partner, to act in the best interests of our business and put the full monies/capital

19
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 20 of 42

70.

71.

72.

funds back into our business account before the start of the next business
day. Your actions to the contrary would not only be detrimental to me but
detrimental to Channel Reply. Further, Jeff has suggested that we move ahead
with the [company name omitted] purchase provided that we agree beforehand
that all funds from said purchase, except those owed to [company name omitted]
(since this is undisputed), be placed in escrow with him while Joel Liebman and
his associates conduct an audit. Once the audit is complete, Jeff suggests we
participate in a mediation and if that does not lead to a resolution then an
arbitration would follow. The funds would not be released to anyone except
pursuant to the terms of an order from an independent mediator or arbitrator from
one of these conflict resolution processes. If you agree to Jeff's suggestion then
let me know and Jeff will draw up a document that we can both sign. Mike.
Redacted email is annexed as Exhibit “49”.
Defendant did not respond.
GITMAN’S UNILATERAL CHANGING OF ALL PASSCODES,
REFUSING ACCESS
TO PLAINTIFF TO ALL COMPANY ACCOUNTS, TRANSFER OF
COMPANY DATA AND PROPRIETARY AND CONFIDENTIAL
INFORMATION, MISAPPROPRIATION OF PLAINTIFF’S BUSINESS
IDENTITY
On May 27, 2017 up until present, I have tried to logon to my CSV Bank of
America bank account and am unable to access it. I received notification that my
passcode had been changed, thereby locking me out. Screenshot annexed as
Exhibit “50”
I am also locked out of my NDAP, LLC Bank of America business account as

well. Screenshot annexed hereto as Exhibit “51.”

20
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 21 of 42

73.

74,

75.

76.

77.

As I tried to access other company portals, I quickly noticed that I could not
access any of my company accounts that I use to run multiple websites and
businesses through CSV.

Our company stores all passwords to all accounts on a heavily encrypted
password storage site called "1 password.” This is a site designed to control all
company level passwords for all accounts.

I have reason to believe that Defendant Gitman abused his administrator
privileges and began his lockout by removing my company access to | password.
When I tried to login it says account suspended. Therefore, I cannot access
passwords to around two dozen company portals housing all company data,
customer lists, codes, payment information, receipts, company historical
documents, proprietary information etc. Screenshot annexed hereto as Exhibit
“52.”

Defendant also abused his administrator privileges in Google Suite to lock me
out. Google Suite is a business level version of Google. The suite of services
provided by Google includes email addresses, Google docs: including all of my
company documents-- everything business related that Google offers. It holds
company data, documents, customer lists, subscriptions, invoices, etc.

Defendant created a new Google domain G suite for ChannelReply to transfer all
of ChannelReply‘s proprietary documents, email addresses and other confidential
information away from CSV’s business accounts and to a new G suite portal that
only he controls. I can't access it. Defendant sent employees new invite logins for

access but not me. If Defendant deleted our account it could result in irreparable

2]
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 22 of 42

78.

79.

80.

81.

harm as it cannot be restored. Screenshot of new G Suite convo and G Suite
deletion policies annexed hereto as Exhibits “53a” and “53b.”

Since Defendant has taken all of CSV’s company data over to his new G-Suite
and locked me out of 1 Password, I cannot access any company accounts except
for my NDAP, LLC email address. This means that anything new going forward,
new incoming or outgoing emails, new and past data and documents, I cannot
access.

Defendant has not only locked me out, but he has stolen my business identity by

 

taking my email address michael@channelreply.com to the new G suite.
Screenshots annexed hereto as Exhibit “54.”

In addition, Defendant Gitman put a picture of his face up on Google so that if
anyone receives an email or has received an email in the past from my email

address, the email says Michael@channelreply.com and Michael Dash (my

 

business name) but has Defendant Gitman’s face on it in Gmail, as if he is

me. He also now gets all emails going to and intended for me by ChannelReply’s
customers and business associates. I fear he may be responding as me. If he
doesn’t respond, it also looks like I am not responding to my customers and
colleagues. Either way he has enormous power to continue to damage my
reputation and the company I spent years building. See Defendant Gitman’s face
associated with my email annexed hereto as Exhibits “55a” and “55b.”

I believe Defendant also used his access to our Google Suite to download all data,
reset all passwords, delete or suspend some accounts. I believe that he may have

downloaded all of my NDAP business data and emails. I have evidence through

22
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 23 of 42

82.

an email tracking software called MixMax that he may have opened and
downloaded my personal investment and tax documents, which I sent to my
accountant. Mix Max shows that at around 6:02am Defendant began opening
certain company emails from Brooklyn NY. When someone goes in to open an
email that wasn't sent to them, MixMax shows the recipient's name but the
location of the person opening the email. Minutes after Defendant opened two
company documents from Brooklyn, it shows that someone from Brooklyn, NY
opened a personal investment document and a tax document that I had sent
privately to my accountant and downloaded it. My accountant doesn’t live in
Brooklyn and wasn’t in Brooklyn that morning, neither was his assistant who was
cce’d on the email. Therefore, the only other person who had the access to
download and open it was Defendant since he holds master admin to my NDAP
email. Mix Max proof attached as Exhibits “56a,” “5é6b,” “56c” and “56d.”

DEFENDANT’S TERMINATION OF PLAINTIFF’S

ACCESS

TO ALL COMPANY ACCOUNTS

I have reason to believe that Defendant changed passwords to Chargebee and
Stripe which are the payment portals for existing ChannelReply customers to pay
their subscriptions. Those passwords were saved on my personal computer. When
I went to login I could not. When I tried to reset the passwords, the password
resets were sent to Michael@channelreply.com which is now under Defendant’s

control. I cannot access those accounts and therefore cannot access any payment

information for ChannelReply. Stripe is an online payment portal for customers,

No
Go
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 24 of 42

83.

84.

Chargebee is subscription management portal for customers. See Exhibits “57a,”
“57b”, “57c”.

Defendant had these capabilities because he is a master administrator of accounts
on Google Domain by virtue of him creating our company Google account which
I was also an equal administrator of. Prior to May 27, 2017, both Defendant and I,
as 50/50 owners of CSV were listed as administrators on all shared accounts. On
May 27, 2017, Defendant abused his company access and removed me as an
administrator on Google Domain. By removing me as admin from the ndap-
llc.com level domain, which controls all of our subdomains, Defendant has
removed my access to more than a dozen active email addresses that I use to
conduct business and get information related to my business from vendors and
customers. The email addresses that fall under NDAP, LLC and under the CSV
umbrella include but are not limited to: Car Part Kings, Cooper Square Ventures,
Plumburs, NDAP, LLC, Next Day Auto Parts, which would result in me not
having access to any Google drive accounts associated with the email accounts
above which contain all of my business documents, accountings, receipts,
transaction records, customer information, proprietary information, etc. I also
cannot access any Google analytics accounts associated with the email addresses
above. Many of our company accounts were opened by me and are under my
name. List of locked out accounts annexed hereto as Exhibit “58.”

Defendant has also changed shared company passwords, or revoked or suspended

my access to the following business accounts:

24
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 25 of 42

a)

b)

g)

h)

j)

k)

l)

1Password Account — this is a password and login account management
system. It holds all of my personal passwords and the companies shared
passwords. Account was paid for out of company funds.

Chargebee Account — This is our subscription management account that holds
the customer information and billing information for all of our ChannelReply
customers

Stripe Account — This is our credit card billing service that allows us to
receive credit card payments from our customers.

PayPal Account — This is an online payment system which allows us to take
online payments from our customers.

Upwork Account — This is a freelancer marketplace that allows us to hire and
pay freelancers to run the business.

Zendesk Accounts — This is a customer service management account which
allows us to talk to our customers when they email us through support tickets.

JIRA Account — This is a project management software that allows us to
manage projects effectively for our business and work with one another to
successfully complete tasks.

Slack — This is a messaging management software for our business that allows
company employees and freelancer to openly communicate with one another
and share documents.

Amazon Seller Central — This is our Amazon seller account that allows us to
sell products on Amazon and manage our MWS accounts for channelreply
sellers through our admin.

eBay Accounts — This allows us to sell products on ebay and manage our ebay
subscription id’s for channelreply sellers through our admin.

Timedoctor — This allows us to manage the time management of employees
and freelancers via an online portal to track time and take screenshots of
employees and freelancer work.

Amazon Web Services (AWS) — This is where we manage all of our Amazon
Web Servers which keep the businesses servers running effectively.

m) American Express Account — This is a NDAP corporate credit card account

25
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 26 of 42

85.

n) Magento Accounts — This is our Magento Admin which allows us to see all
backend data associated with our business

0) Quickbooks Accounts — This is where all the finances are held and all
accounting and reconciliation is done.

p) Desk.com Account - This is a customer service management account which
allows us to talk to our customers when they email us through support tickets.

q) Godaddy Account — We have a company godaddy account which owns and
operates many domains, I cannot login to Godaddy to even list all of the
domains we own together.

tr) Magemojo — This is our Magento hosted server account

s) Mailchimp — This is our email subscription newsletter account

t) Github — This is where all of our software is checked in and stored for sharing

u) Ringcentral — This is our VOIP system that allows us to make and receive
internet phone calls and faxes

v) Join.me — This is a screenshare service that allows us to talk to customers and
share our screens with them
See 1 Password lockout containing all passwords to these company accounts
annexed hereto as Exhibit “59.”
We both held the power to disable, suspend or delete the other from any of those
shared accounts at any time, however, I of course never exercised that power
because it would have been contrary to our good faith partnership and my
fiduciary duty to not harm my partner. I also would never usurp control over all
business accounts and lock my partner out, but this is precisely what he has done
to me. I cannot take any actions to conduct or act in the interests of my active and
running businesses or customers, or prevent the loss of revenue let alone build

more client relationships. Defendant is not only threatening the existence of my
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 27 of 42

86.

87.

88.

present businesses but estopping me from growing them, and causing me to lose
business relationships.

By a stroke of luck, the one thing Defendant Gitman forgot to lock me out of was
TimeDoctor, the software that is installed on laptops by employees and takes
screenshots of employees while they work remotely. My access to TimeDoctor
allowed me to see some of what Defendant was planning, what he was doing and
saying to employees during the lockout because his messenger conversations with
employees showed up on their computer screens and TimeDoctor snapped
pictures of these conversations in real time.

On May 27, 2017, I received a notification that someone requested to change the
Password to Channel Reply's PayPal account which accepts payments from
customers. See Exhibits “60a,” “60b” and “60c.”

From May 27, 2017 to present, I have seen evidence through TimeDoctor
screenshots that Defendant has been spreading lies to employees about me, using
Slack messenger, to turn them against me. His lies include telling them that they
were owed distributions and I took their distributions, even though they are not
company owners. I cannot participate in these conversations on Slack to defend
myself because Defendant has locked me out of our company account. Therefore,
I was forced to watch him degrade me for nearly two weeks with no way to
defend myself while we prepared this application to the Court. See Exhibits “61”
and “62.”

DAMAGE TO CSV CUSTOMERS

27
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 28 of 42

89. By 2:11pm on Sunday May 28, 2017 our account balance was overdrawn by

90.

negative $10.89. CSV’s bank account not only collects revenue in the form of
monthly service fees from customers, but it also funds the operation of the
service. Auto-debits have been prescheduled to pay for servers, employees and
other digital portals that help service CSV. There is presently no capital in CSV’s
account due to Defendant Gitman’s actions, and thus, CSV’s contractual
obligations are not being paid and the account continues to overdraw. This can
very quickly lead to the shutdown of ChannelReply which is presently servicing
subscriptions held by more than two hundred worldwide customers. These
business relationships took years to build and are not only a source of monthly
revenue but an invaluable asset to the company and me as a businessman, 50%
owner and co-manager of CSV. The loss of these customers would cause
irreparable harm to me, ChannelReply and CSV, and its other businesses.
Defendant’s actions can also cause our third party customers to lose or damage
relationships with their own customers, if they cannot service them properly
through ChannelReply and is causing harm to their customer service capabilities
in that I cannot help them with issues. Defendant has redirected customer support
emails to himself but has no experience with customer service and has not
indicated whether he is providing any. Mobile screenshot of overdrawn account
annexed hereto as Exhibit “63”.

On Monday May 29, 2017, Defendant canceled my participation in a pre-
scheduled weekly conference call with international employees running

ChannelReply. He removed the event from my calendar so that I could not join
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 29 of 42

91.

92.

the Skype call and get any information, updates or ask any questions about my
active and running business. Screenshot of calendar cancellation annexed as
Exhibit “64”.

On Monday May 29, 2017, after blocking my access to a company conference
call with employees, Defendant spoke with Bagaev, CSV’s lead developer who
created the proprietary software upon which ChannelReply operates, indicating
his intent to fly to either Russia or the Ukraine to meet with him and
ChannelReply’s other lead developer privately, saying, “I’m looking at flights
now.” The text conversation is annexed hereto as Exhibit “66b.” It is my good
faith belief that Defendant Gitman is scheduled to leave for the Ukraine this
Friday, June 9, 2017 to enter into contractual agreements with CSV’s two lead
developers to enter into a competitive business with them, possibly
ChannelReply, Inc., but in any event to utilize CSV and ChannelReply’s code and
confidential and proprietary information against CSV and ChannelReply.
Defendant Gitman has induced the two lead developers to turn their allegiance
away from me, CSV and ChannelReply by offering them an ownership interest in
his new competing company, help in obtaining Visas and access to their own US
bank accounts and by filling them with lies about me and my business
relationship with Defendant Gitman. See conversation referenced annexed hereto
as Exhibit “65.”

By 8:01pm on Monday May 29, 2017, I received mobile notification that the CSV
bank account was overdrawn by $229.40 due to preexisting debits to pay for

services essential to operate Channel Reply. Again, I cannot gain online access to

29
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 30 of 42

93.

94.

95.

96.

97.

my bank account because Defendant has changed the shared online password.
Mobile screenshot annexed hereto as Exhibit “66a”.

On Tuesday May 30, 2017, Falk sent me and Defendant a revised Asset purchase
agreement from [company name omitted]. Defendant replied, Thanks. Will
review. Planning to execute today. “ Redacted emails annexed hereto as Exhibit
“67”,

On Tuesday May 30, 2017, Defendant also reached out to our company attorney
Jeff Rothman requesting an in person meeting. Defendant stated he did not want
to meet with me and only wanted to meet with Rothman and that Rothman could
then communicate with me. Email exchange annexed hereto as Exhibit “68”.
On Tuesday May 30, 2017 at approximately 3pm, Defendant Gitman told
Channel Reply’s lead developer Bagaev that he usurped my company email
address and customers tried but could not reach me for service. The employee
said, “Dave, in some cases, customers were contacting Mike by email without
going to support@channelreply.com. “ Defendant replies, “I get those emails
now.” Email exchange annexed hereto as Exhibit “54”.

On Tuesday May 30, 2017 at approximately 5:08pm, Defendant Gitman again
stated to Bagaev his intent to fly to Russia immediately to meet privately with him
and ChannelReply’s other developer and discuss my company without me
present. Defendant says in part, “I am checking flights for tomorrow.” Text
conversation annexed hereto as Exhibit «69”,

On May 30, 2017, Defendant Gitman acknowledged to developer Glukharev that

he moved the ChannelReply email and account information to a new G suite.,

 
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 31 of 42

98.

99.

saying “I’m moving ChannelReply email to a dedicated G suite account. You
should have received an email in your personal inbox with the new account. Can
you give me your old password so I can migrate your email?.” He changed
employee passwords so they could access the G suite with all company emails
and documents, saying “I reset your NDAP password to kick off the migration of
your emails to CR’s new G Suite account.” Again see Exhibit “53.”

On May 30, 2017 Defendant registered Channel Reply Inc. with the Secretary of
State in Delaware for the purpose of transferring all of CSV and ChannelReply’s
assets into a new company for his own use, misappropriating the tradename and
intellectual property, including all of the software and trade secrets, stealing the
company and converting all of its assets and employees, while locking me out so
that I had no access to any resources to try to prevent this unlawful and fraudulent
action or to defend myself, my company or to protect my company’s customers or
employees. See proof of registration annexed hereto as Exhibit “70.”

On May 31, 2017, Defendant Gitman began driving up debt using CSV’s depleted
bank account and credit card. He paid an invoice to a ChannelReply worker from
CSV's overdrawn bank account for $218.51 further driving the account into an
overdrawn status. The accompanying invoice says the charge comes from
Defendant Gitman and lists his personal home address in Brooklyn, New

York. Defendant Gitman also charged a lease payment for his BMW through
CSV’s overdrawn account in an amount greater than $500. See Invoice attached

as Exhibit “71,” and evidence of overdraw as Exhibit “72a” and “72b.”
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 32 of 42

100.On June 1, 2017, Defendant again degraded me to the lead developers, lying that
I “stole” from the company and want to use the money to buy a seven figure
house and claiming I was running a “pyramid scheme.” Defendant Gitman
acknowledged he believed I would sign the CPK deal and give into his demands
because he thought I needed money from the deal to buy a house. See Exhibits
“73” and “74.”

101.On June 1, 2017, Defendant acknowledged to our lead developer that he has
been unlawfully viewing my emails from my NDAP, LLC company email
address and called me a “bully”. See Exhibit “75.”

102.On June 1, 2017 L used my limited access to my NDAP email to take screenshots
evidencing that Defendant had replaced my face with his own so that people who
have past or future emails from my business email address

Mike@channelreply.com see my full name but Defendant’s face. Since May 31,

 

2017 until at least June 4, 2017, Defendant Gitman has misappropriated my
identity by inserting his face and likeness with my email address and name,
intentionally misrepresenting himself as me to customers and others who view my
email. He still has possession of my email account so I cannot read incoming
emails or respond.

103.On June 1, 2017, Defendant sent CSV and ChannelReply’s Russia-based
developers new employment agreements for them to become employees of his
newly-formed and unlawful company "Channel Reply, Inc." He did this using the
email David@dalva.ventures. Upon closer examination it appears Defendant

formed Dalva Ventures in February of 2017, which led me to wonder how long he
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 33 of 42

may have been planning to steal and convert ChannelReply to his own use and for
his own benefit. See Exhibits “76a,” “76b,” “76c”, “76d”, “76e”, “76f” and
“76g” (Dalva Registration).

104. June 1, 2017 Defendant called me a parasite to the lead developer to further
degrade me and tarnish my business reputation. See Exhibit “77.”

105.On June 1, 2017 Defendant Gitman improperly solicited and offered employees
of CSV a stock plan agreement and 125,000 shares of equity in Channel Reply,
Inc. and also told CSV and ChannelReply’s lead developer he will be considered
a Co-founder of his new unlawful Channel Reply Inc. company to win his
loyalty. See Exhibits “78a,” “78b”, “78c”, “78d”.

106. On June 2, 2017 Defendant further reinforced to CSV’s developer that he would
make him a co-founder of the new Channel Reply Inc. company and fight for his
rights. When the developer praised Defendant’s nobility, Defendant said that he
would like to believe there are more people like him and just wants to do the right
thing and lead by example. See conversation annexed hereto as Exhibit “79.”

107.On June 2, 2017 Defendant made assurances to CSV’s lead developer that
Defendant Gitman is attempting to pirate away from CSV and ChannelReply that
he will get him a Visa to further win his loyalty. He also discussed getting him a
house. See conversation annexed hereto as Exhibit “80.”

108.On June 2, 2017, Defendant Gitman spoke to the lead developer about getting all
customer emails and making new hires for his new unlawful company, Channel

Reply, Inc. He also discussed getting venture capital and said he knew a VC guy
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 34 of 42

who would help. I was not sure but thought he could be referring to Falk. See
Exhibits “81a,” “81b”, “81c”, “81d”, “8le” and “81f.”

109. On June 2, 2017 Defendant told ChannelReply’s lead developer that I stole
money (a lie) and he would be considering reporting me to the IRS and also
promised the lead developer he would get him access to US accounts. See Exhibit
“$2.”

110.On June 2, 2017 Defendant essentially and incredibly indicated to our lead
ChannelReply developer that after he converted all of CSV’s assets to his new
company Channel Reply Inc., he would then offer me a 5% share of his new
company, but if I did not accept his offer, then the 5% share I was offered would
revert back to the developer. When the developer questioned why I would ever
accept a 5% share of a company (of which I already own 50%) Defendant said “it
was a fair and generous offer” and again promulgated the lie that I took money
from the company to turn my employees against me. See Exhibit “83.”

111.On June 2, 2017 I noticed that Defendant Gitman had updated the CSV funded
TimeDoctor account name to be "David's company" further evidencing his intent
and plot to steal CSV and ChannelReply and to make them his and only his
(essentially his alter-ego). However, Defendant Gitman is still billing CSV’s
empty bank account for TimeDoctor. See Exhibits “84a,” “84b” and “84c.”

112.On June 2, 2017 Defendant charged $3,500 to amazon web services using
NDAP's American Express credit card, thereby driving up CSV's debt to over
$7,000 despite emptying its bank account so I cannot pay our jointly held business

credit card. He also locked me out of the amazon web services account by
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 35 of 42

changing the passwords so I cannot even see what the charge is for. See redacted
Exhibits “85a” and “85b.”

113.On June 4, 2017 the lead developer asked whether they should update the
ChannelReply website and remove CSV's Terms of Service identifying CSV as
the owner of ChannelReply and replace it with new terms of service for
ChannelReply's existing customers so they can convert those customers to
Defendant’s new Channel Reply Inc. company. Defendant says “absolutely” he
will. See Exhibit “86.”

114. From May 27, 2017 when Defendant Gitman depleted CSV’s bank account
through the present date, customers have still been under contract with CSV,
believing they are paying CSV. Meanwhile I have reason to believe Defendant
Gitman has rerouted CSV’s customer payments to his own personal accounts or
his new company Channel Reply Inc’s accounts without notifying consumers. I
believe this because he has locked me out of our Stripe and Chargebee accounts
which collect and deposit customer payments into our CSV bank account and our
CSV bank account continues to go overdrawn. I have not seen any customer
payments from Stripe or Chargebee in our payment portals since May 27, 2017
which is not customary. I am not sure where he has redirected customer
payments. I have also received an email notice that a new PayPal account has
been created for ChannelReply but I am unsure whether it is for ChannelReply or
Channel Reply, Inc. I do not have access to that new account because my PayPal

password was changed. See Exhibits “60a,” “60b” and “60c.”

35
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 36 of 42

115.On June 5, 2017, Defendant Gitman sent another demand letter saying he refuses
to discuss ChannelReply until I meet his demands with regard to the sale of
NDAP. He aggressively orders me to do things, starting his demands with the
phrase, “you will” do this, and “you will” do that. He added new terms,
demanding payment for his past and future work, and demanding I grant an
employee 15% of the profit shares from the sale of NDAP. He told me there is no
“deal” to be made. See redacted Exhibit “87.”

116.On June 5, 2017, Defendant expressed plans to ChannelReply’s lead developer
that he wanted to develop a new corporation in the Ukraine to cut company
taxes. I fear he will soon be trying to divert CSV’s funds, assets and proprietary
information abroad. See Exhibit “88.”

117.On June 6, 2017 Defendant finalized travel plans to fly to the Ukraine to meet
with Bagaev and Glukharev from June 12-17", 2017. See Exhibits “89a” and
“89b.”

118. Defendant Gitman has clearly evidenced a complete disregard for the law, for
any semblance of respect for his fiduciary duties to me and to our companies, and
has demonstrated a willful election to act in a deceitful and fraudulent manner. It
appears clear that Defendant Gitman believes that he is above the law and beyond
reproach. In order to deter Defendant Gitman from undertaking any further action
to damage me, our companies, our worldwide customers or their worldwide
customers. I am pleading with this Court to enter all of the restraints to return our

companies to the place they were in prior to his egregious actions, and to impose
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 37 of 42

serious sanctions and repercussions against Defendant Gitman to develop his

compliance with the law.
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 38 of 42

I certify under penalty of perjury that the foregoing statements made by me are

true. I am aware that if any of the foregoing statements made by me are willfully false, I

am subject to punishment.

Sworn to before me this at”

 

 
 
  
      
  

 
  

_ TANIA JEAN BAPTISTE
Notary Pubiss - State of New York
NG. 0166348687 .
Qualified in Kings County
My Commission Expires Oct 3. 2020

  

  

38

  
 

_/ Michael Dardashtian, Individually
and on behalf of NDAP, LLC,

Cooper Square Ventures, LLC and
ChannelReply
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 39 of 42

EXHIBIT LIST

Document Exhibit

 

Diagram created by Gitman showing CSV’s online properties and products ]

CSV’s Operating Agreement

     

CSV Employee EIN Receipt 3

NDAP’s Operating Agreemen

 

NDAP’s Articles of Organization 4(b)

NDAPEINfromIRS

   

CSV Bank Signature Cards 5(b)

 

Dardashtian Description of ChannelReply

Gitman’s Description of ChannelReply 5(d)

 

CSV Customer Service Agreement (beta version)

First ChannelReply Customer Invoice Receipt 7(a)

 

Scope of Bagaiev/Developer Services

Bagaiev Service Emails

  

Bagaiev Service Agreement

Intentionally Omitted 8,9

 

CPK Website Screenshot $10 million 10(a)

    

DBA confirmation NDAP 10(b)

 

CSV Offers ChannelReply as Subscription Service 11(a)

 

   

Channel Reply Service and Invoices

 

Channel Reply Service Invoices 1i(c)

 

Peakstone Agreement

Emails between Dardashtian and Gitman re: ChannelReply, LLC 13(a) and (b)

 

Channel Reply, LLC Registration with See, State
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 40 of 42

ChannelReply Publication 15

   

Dardashtian inquiry with Rothman re stock options

Gitman’s request for work Visa for Developer 17

 

BIN for Channel Reply, LLC

 

ChannelReply Operating Agreement 19(a) and (b)

 

Dardashtian doubles ChannelReply’s Revenue Spreadshee — 1I9©

Falk demands payment for tax write off, Dardashtian request for Falk Agreement 20(a)

 

Correspondence re Liebman and Anden — 20(b)-200)

Intentionally Omitted 20@)

 

Falk Texts requesting Peakstone Agreemen
Dardashtian sends Peakstone Agreement to Falk 23
Emailsregarding Falk’s Agreement

Falk Services Agreement 25

 

Emails for Dardashtian to Sign Falk Services Agreement _ 26

Email Negotiations Falk and Dardashtian “no offer yet” 27

 

Falk threatens Mike- double the work 29(a)

 

ao

 

Signed Service Agreement with Falk
Falk LOI 30

Bl

 

Intentionally Omitted
Gitman email Falk agrees to $80k Commission 32

--33(@) and ()

 

Gitman listed as business manager
Anden doing work for Accel 34
35)

 

Emails re Gitman and Falk starting a business.

Upwork screen shots 35(b)-(f)

    

Accel P&L
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 41 of 42

Purchase Agreement Covering email for NDAP 36

   

Intentionally Omitted =

Intentionally Omitted 38

 

Intentionally Omitted

Text Message meetings between Gitman and Bagaiev 40

 

Intentionally Omitted 8
Intentionally Omitted 42
Email re Gitman’s request to Liebman/Rothman to validate Anden’s accounting = 43
Intentionally Omitted 44
BoA statementbalance$74. 0 ssi‘ a 48 (a) and (b)

BoA letter re transferred funds 46

 

BoA cmailAlet

 

Gitman admitting he took money 48

   

Rothman/Liebman recommendation for Liebman to do audit

Logon Failure CSV BoA 50

 

Lockout of NDAP account |
Screenshot of lockout of portals 52
Gitmans Google Doman G Suite to transfer documents, emails,etc == S3(@) and (b)

Screenshot of Gitman taking michael@channelreply.com to G suite 54

  

— 55(a) and (b)

 

Gitman’s faceon Mikesemail
MixMax- Gitman’s misappropriation of Dardashtian’s personal information 56(a)-(d)

57(a)-(c)

 

Stripe/Chargebee portal

List of locked out accounts 58

 

39

 

Passwords for accounts.
Notification of Request to Change Password to ChannelReply Paypal Acct 60(a)-60(c)

Gitman’s Disparaging comments about Dardashtian N82
Case 1:17-cv-04327-LLS-RWL Document 136-1 Filed 04/30/20 Page 42 of 42

Mobile Screenshot of Overdrawn CSV Bank Account 63

 

Screenshot calendar cancellation of Dardashtian’s participation in Skype Conference
Gitman assists to obtain Developers visas 65
Mobile Screenshot of Denied AccesstoCSV Bank Account =  =—s 66a

Correspondence re: Gitman’s travel to Russia 66b

   

Emails re Fal evised asset purchase agreement

Gitman correspondence to Jeff Rothman 68

 

Gitman “checking for flights” to Russ

Registration of Gitman’s Channel Reply, Inc. 70

 

Overdrawn CSV Account Invoice, Gitman lease payment for BMW _ 11-72(b)

 

Gitman’s disparaging comments about Dardashtian June 1,2017 73-74

Gitman acknowledges he has been viewing Dardashtian’semails TS

 

Dalva Ventures registration and related documents 76a-76g
Gitman sends disparaging messages about Dardashtian
Gitman’s solicitation of Developers with stock plan agreements, equity, etc. 78a-78d

299

   

Gitman promises Developer to make co-founder of Channel Reply.

Gitman promises to assist Developer to get visa 80

2 Sia kit

 

Gitman tells Developer Dardahstian stole money 82-83

84a-84c

 

Gitman updates CSV account to be “David’s Company”
Gitman locks Dardashtian out of Amazon Web Services Account 85a-85b
Gitman agrées to update ChannelReply Website and remove CSV’s Terms of Service 86

Gitman sets unreasonable demands as a condition to NDAP sale 87

 

Gitman expresses intent to set up new corporation in Ukraine, 3

Gitman’s travel plans to Ukraine 89a-89b

 

Gitiian Chase Bank Rees, Channel Reply Ine.
